12/23/22, 11:59 AM     Case 1:18-cv-02080-APM Document
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                                                         - Debbie Robinson  11/21/23 Page 1 of 3

       FW: Activity in Case 1:18-cv-02080-APM SMITH v. ATHENA CONSTRUCTION GROUP,
       INC. Order
       eFile <efile@xlppllc.com>
       Fri 12/23/2022 9:59 AM
       To: Milt Johns <mjohns@xlppllc.com>;Jill Helwig <jhelwig@xlppllc.com>
       Cc: Debbie Robinson <drobinson@xlppllc.com>;Fadley Charles <fcharles@xlppllc.com>
       Good morning,
       Please see below the minute order for Athena stating that the joint status report is now due on 12/30/22.

       Best regards,

       Erin Burnett | Legal Administrative Assistant
       Executive Law Partners, PLLC
       www.xlppllc.com

       O: 571.500.1010 | F: 571.408.8102




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                                                                         U.S. District Court

                                                                        District of Columbia

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       Case Name:          SMITH v. ATHENA CONSTRUCTION GROUP, INC.                                                                             Ex. 21
       Case Number:        1:18-cv-02080-APM                                                                                                    1 of 3
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                                                       - Debbie Robinson  11/21/23 Page 2 of 3
       Filer:
       Document Number: No document attached

       Docket Text:
       MINUTE ORDER. The Joint Status Report due on December 22, 2022 shall now be filed
       on or before December 30, 2022 if the parties are unable to resolve their outstanding
       discovery disputes. The court thereafter will set a discovery conference, if needed.
       Signed by Judge Amit P. Mehta on 12/22/2022. (lcapm1)


       1:18-cv-02080-APM Notice has been electronically mailed to:

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       John Cuong Truong       john.truong@usdoj.gov

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       Michael Morano       mmorano@mdmc-law.com
                                                                                                         Ex. 21
       Mark Alan Rosen       mrosen@mdmc-law.com                                                         2 of 3
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